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                                                                          A filedPage     Vault
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Document title:                  ICANN Lookup

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Page loaded at (UTC):            Thu, 20 Jul 2023 19:02:00 GMT

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Capture tool:                    10.26.9

Collection server IP:            54.157.181.49

Browser engine:                  Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like
                                 Gecko) Chrome/108.0.5359.215 Safari/537.36

Operating system:                Windows_NT (Node 16.17.1)

PDF length:                      4

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User:                            taftlaw-bwalz




                                                 Exhibit 6

                        PDF REFERENCE #:             ekbAT7i6yShxHivkfxQVsk
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                 ICANNILOOKUP
               USDC IN/ND case 3:23-cv-00699-CCB-SJF                                                          document 1-6                           filed 07/25/23   page 2 of 4

                   Registration data lookup tool

                   Enter a domain name       or an Internet number resource (IP Network or ASN)                Frequently Asked Questions (FAQ)

                    fulltiltlp.com

                   By    submitting   any   personal   data,   | acknowledge   and   agree   that the    personal   data    submitted   by   me     will   be
                   processed     in accordance with the ICANN       Privacy Policy, and agree to abide by the website Terms of Service and
                   the registration data lookup tool Terms of Use.




                        Domain        Information

                        Name: FULLTILTLP.COM

                        Registry Domain ID: 2717228614_ DOMAIN_COM-VRSN

                        Domain Status:
                        clientTransferProhibited

                        Nameservers:
                        NS10.WIXDNS.NET
                        NS11.WIXDNS.NET


                        Dates

                        Registry Expiration: 2023-08-10 17:40:40 UTC

                        Updated: 2022-08-26 20:08:27 UTC

                        Created: 2022-08-10 17:40:40 UTC



                     Contact Information




                          Registrant:

                          Handle: APZf75nWEv4OsJymfbiiESCtDU_tP-C-St3V925w6hGTK7JVLOOalVCSNNI2sV30wqVuhjmqaLdgi

                          Name: Contact Privacy Inc. Customer 7151571251

                          Organization: Contact Privacy Inc. Customer 7151571251

                          Email: contact-registrant@google.com

                          Phone: tel:+1.4165385487

                          Mailing Address: 96 Mowat Ave, Toronto, ON, M4K 3K1

                          1SO-3166 Code: CA



                          Administrative:

                          Handle: APZf75nh7Fbodx6JARmeL7PdWzZr3ykmOo1D699bIScjqi-Qbc37i_blxJdqfKQBoOrkcAVFLkk-

                          Name: Contact Privacy Inc. Customer 7151571251

                          Organization: Contact Privacy Inc. Customer 7151571251

                          Email: contact-registrant@google.com

                          Phone: tel:+1.4165385487

                          Mailing Address: 96 Mowat Ave, Toronto, ON, M4K 3K1

                          1SO-3166 Code: CA



                          Tarhni-eal:




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                           Email: contact-registrant@google.com

                           Phone: tel:+1.4165385487

               USDCMailing
                    IN/ND       case
                           Address:     3:23-cv-00699-CCB-SJF
                                    96 Mowat Ave, Toronto, ON, M4K 3K1                             document 1-6                    filed 07/25/23               page 3 of 4
                           1SO-3166 Code: CA



                           Technical:

                           Handle: APZf75mX1duDzW9xgeRKIWAHL2eHQRRI_VyQ7UCsPaPadRVc05-qJOFDC-D6qg1RzBYsOeijAub8

                           Name: Contact Privacy Inc. Customer 7151571251

                           Organization: Contact Privacy Inc. Customer 7151571251

                           Email: contact-registrant@google.com

                           Phone: tel:+1.4165385487

                           Mailing Address: 96 Mowat Ave, Toronto, ON, M4K 3K1

                           1SO-3166 Code: CA




                     Registrar Information

                     Name: Google LLC

                     IANA ID: 895

                     Abuse contact email: registrar-abuse@google.com

                     Abuse contact phone: tel:+1.8772376466




                     DNSSEC          Information

                     Delegation Signed: Unsigned




                    Authoritative Servers



                     Last updated from Registry RDAP DB: 2023-07-20 19:01:57 UTC

                     Registrar Server URL: https://domainsrdap.googleapis.com/v1/domain/FULLTILTLP.COM

                     Last updated from Registrar RDAP DB: 2023-07-20 19:02:10 UTC




                     Notices and Remarks


                     Notices:

                     RDAP Terms of Service

                     This data is provided by Google for information purposes, and to assist persons obtaining information about or related to domain name registration re
                     cords.
                     Google does not guarantee its accuracy.
                     By submitting an RDAP query, you agree that you will use this data only for lawful purposes and that, under no circumstances, will you use this data t
                     oO:
                     1) allow, enable, or otherwise support the transmission of mass unsolicited, commercial advertising or solicitations via email (spam);
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                     By submitting this query, you agree to abide by these terms.

                     https://payments.google.com/payments/apis-secure/get_legal_document?ldt=domainsrdap-tos&ldl=en&ldr=US

                     Status Codes

                     For more information on domain status codes, please visit https://icann.org/epp




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                          Last updated from Registry RDAP DB: 2023-07-20 19:01:57 UTC
               USDC   IN/ND case 3:23-cv-00699-CCB-SJF document 1-6
                  Registrar Server URL: https://domainsrdap.googleapis.com/v1/domain/FULLTILTLP.COM
                                                                                                                                                  filed 07/25/23                           page 4 of 4
                          Last updated from Registrar RDAP DB: 2023-07-20 19:02:10 UTC




                      Notices and Remarks


                          Notices:

                          RDAP Terms of Service

                          This data is provided by Google for information purposes, and to assist persons obtaining information about or related to domain name registration re
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                          oO:
                          1) allow, enable, or otherwise support the transmission of mass unsolicited, commercial advertising or solicitations via email (spam);
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                          Status Codes

                          For more information on domain status codes, please visit https://icann.org/epp

                          https://icann.org/epp

                          RDDS Inaccuracy Complaint Form

                          URL of the ICANN RDDS          Inaccuracy Complaint Form: https://icann.org/wicf

                          https://www.icann.org/wicf




                      Raw Registry RDAP Response                                                                                                                                                       v


                      Raw Registrar RDAP Response                                                                                                                                                      v




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                  Get started                     Locations                                                         Governance Documents          Dispute Resolution           Data Privacy
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                  ICANN           Learn           | Need Help                     Accountability Mechanisms         Agreements                    Domain Name                    facnees
                                                                                                   i                                              Dispute       Resoluti       Pri         Poli
                  Participate                     Report Security Issues          eee                               Organizational Reviews          spurte        resolution     rrivacy    rolicy
                  Diversity at ICANN              Certificate Authority           Independent Review Process        Specie Renee                  Name Collision               Terms of Service

                  Groups                          Registry Liaison                Request for Reconsideration       peered                        ICANN         Lookup         Cookies Policy


                  Board                           Ombudsman                                        ee               Financials

                  CEO           Corner            Complaints Office               ae                                Planning
                                                                                  Policy and Procedures
                  Staff                           For Journalists                                                   RFPs

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